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                                                         Clerk, U.S. District Court, ILCD




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                            s/Steve Herzog
s/Andrea Herzog
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                                     s/Ann Mynatt
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               s/Brenda Bouche Mehnert
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s/David Slichter




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                    s/Eddie Kilby
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s/Janet Morford



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s/Jeanine Bensken
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s/Jeffrey Helfrich
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        s/Jeff Yockey




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s/Jim Acklin
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               s/Jim Ausmus

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s/Joel Beesley
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   s/Joel Beesley
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s/Matt Sutton
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s/Michael H. Leroy
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                                s/Dr. Nathaniel Mathews
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s/Robert Bruzik
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s/Stephen E Rayburn
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                                                  s/Melanie A. Michael
s/Steven C Michael
